 Case: 1:20-cr-00613 Document #: 100 Filed: 02/28/24 Page 1 of 1 PageID #:481

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

UNITED STATES OF AMERICA
                                       Plaintiff,
v.                                                   Case No.: 1:20−cr−00613
                                                     Honorable Sharon Johnson Coleman
Heriberto Carbajal−Flores
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 28, 2024:


        MINUTE entry before the Honorable Sharon Johnson Coleman as to Heriberto
Carbajal−Flores: Status hearing held on 2/28/2024. Brief oral argument held as to
defendant's renewed second motion to dismiss indictment under the Second Amendment
of the U.S. Constitution [83]. The matter is taken under advisement. Time is excluded
pursuant to 18 U.S.C. § 3161(h)(7)(B)(i) with no objections. Mailed notice. (ym)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
